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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF VIRGINIA
                              CHARLOTTESVILLE DIVISION

     ELIZABETH SINES, et al.,
                                                          CASE NO. 3:17-cv-00072
                                        Plaintiffs,

                            v.                            ORDER

     JASON KESSLER, et al.,
                                                          JUDGE NORMAN K. MOON
                                        Defendants.



          Defendant James Alex Fields, by counsel, has identified that he intends to admit into

   evidence at his trial in this case a certified copy of his “federal sentencing report.” Dkt. 1061

   at 1. Counsel for Defendant Fields is ADVISED that, because his presentence investigation

   report has been filed under seal in his criminal case, any potential use of that report in this civil

   case would require an order by the presiding district judge of his criminal case, Chief Judge

   Michael F. Urbanski, to lift the seal of the report in that criminal case. See W.D. Va. Gen. R.

   9(c)(1)(C) (providing for sealing of presentence investigation reports); Standing Order 2020-11

   and Standing Order 2015-8 (imposing limitations on disclosure of presentence investigation

   reports). Moreover, in view of potential hearsay or other anticipated evidentiary barriers to

   admissibility of the presentence investigation report in this civil case, counsel for Fields shall file

   a submission by October 21, 2021 at noon, supporting its proposed use and admissibility.

   Plaintiffs will be entitled to respond thereto.

          It is so ORDERED.




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         The Clerk of the Court is directed to send a certified copy of this Order to the parties.

         Entered this 18th     day of October, 2021.




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